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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA

VS.                                                      CRIMINAL NO.: 1:10cr101-LG-RHW

BRIAN PARKER

        PROPOSED FINDINGS OF FACT AND RECOMMENDATIONS
ON FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE


       Pursuant to Title 28 United States Code, Section 636(b), this matter has been referred by
the District Judge for administration of a guilty plea under FED. R. CRIM. P. 11.

        On this day this cause came before the undersigned U. S. Magistrate Judge for the Guilty
Plea of the Defendant, Brian Parker, on Count(s) 1 of the Indictment filed herein charging a
violation of 18 U.S.C. 545. After conducting said proceeding in the form and manner prescribed
by FED. R. CRIM. P. 11, the Court finds as follows:

       1)      That the Defendant, after consultation with counsel of record, has knowingly and
voluntarily consented to the administration of the Guilty Plea in this case by the Magistrate
Judge subject to final review and imposition of sentence by a District Judge.

       2)      That the Defendant and Government have entered into a plea agreement which
has been filed and disclosed in open court pursuant to FED. R. CRIM. P. 11(e)(2).

        3)      That the Defendant is fully competent and capable of entering an informed plea,
that the Defendant is aware of the nature of the charges and the consequences of the plea, and
that the plea of guilty is knowing and voluntary plea supported by an independent basis in fact
containing each of the essential elements of the offense.

        IT IS, THEREFORE, the recommendation of the undersigned U. S. Magistrate Judge
that the District Judge accept the plea agreement and the guilty plea of the Defendant, Brian
Parker, and that the Defendant be finally adjudged guilty of that offense.

       Signed this the 26th day of May, 2011.


                                                    /s/eÉuxÜà [A jtÄ~xÜ
                                                    UNITED STATES MAGISTRATE JUDGE
